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                                     #:18193



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                                UNITED STATES DISTRICT COURT
14
                       CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
15

16      JENNY LISETTE FLORES, et al.,               )   Case No. CV 85-4544 DMG (AGRx) 
17                                                  )
                 Plaintiffs,                        )   ORDER GRANTING LEAVE TO FILE
18      - vs -                                      )   MEMORANDA IDENTIFYING ASYLUM
19                                                  )   APPLICANTS UNDER SEAL
        JEFFERSON B. SESSIONS, Attorney             )
20      General of the United States, et al.,       )   [PROPOSED]
21                                                  )
                 Defendants.                        )
22                                              _   )   [HON. DOLLY M. GEE]
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1             Pursuant to the Plaintiffs’ unopposed application for leave to file
2       declarations of asylum-seekers and memoranda identifying such asylum-seekers
3
        under seal, and good cause appearing therefor, it is hereby Ordered as follows:
4

5             1. Plaintiffs are granted leave to file in the public record Plaintiffs’
6
        Response to Defendants’ Third Juvenile Coordinator Reports identifying such
7
        asylum seekers with identifying information redacted so as to protect the
8

9       identities of applicants for asylum. Pursuant to 8 C.F.R. §§208.6 and 1208.6 the
10
        identities of asylum applicants are confidential.
11
              2. Plaintiffs shall comply with all current Local Civil Rules regarding the filing
12

13      of documents under seal.
14
              IT IS SO ORDERED.
15

16
        Dated: _________________, 2018.                  _______________________
17                                                       Dolly M. Gee
                                                         United States District Judge
18

19
              Presented by —
20
21            /s/Peter Schey
              Peter A. Schey
22
              Class Counsel for Plaintiffs
23

24
              ///
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                                     #:18196

1                                      CERTIFICATE OF SERVICE
2             I, Peter Schey, declare and say as follows:
3
              I am over the age of eighteen years of age and am a party to this action. I am
4

5       employed in the County of Los Angeles, State of California. My business address is
6
        256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.  
7

8             On July 13, 2018 I electronically filed the following document(s):

9       ORDER GRANTING LEAVE TO FILE MEMORANDA IDENTIFYING ASYLUM APPLICANTS UNDER
10
        SEAL [PROPOSED] with   the United States District Court, Central District of California
11

12      by using the CM/ECF system. Participants in the case who are registered CM/ECF

13      users will be served by the CM/ECF system.
14

15

16                                                   /s/Peter Schey
                                                     Attorney for Plaintiffs
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